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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 18-cv-61553-GAYLES
  ABS-CBN CORPORATION, et al.,

         Plaintiffs,

                 v.

  ACESHOWBIZ.ME, et al.,

         Defendants.                             /

                 FINAL DEFAULT JUDGMENT AND PERMANENT INJUNCTION

         THIS CAUSE comes before the Court on Plaintiffs’ Motion for Entry of Final Default

  Judgment against Defendants [ECF No. 33]. The Court granted the Motion in a separate Order

  [ECF No. 34]. Pursuant to Federal Rule of Civil Procedure 58(a), the Court enters this separate

  final default judgment. Accordingly, it is

         ORDERED AND ADJUDGED that a Final Default Judgment is hereby entered IN

  FAVOR OF Plaintiffs ABS-CBN Corporation, ABS-CBN Film Productions, Inc. d/b/a Star

  Cinema, and ABS-CBN International, and AGAINST the Defendants identified on Schedule

  “A” hereto (collectively “Defendants”) as follows:

         1.      Permanent Injunctive Relief:

         The Defendants and their officers, agents, representatives, servants, employees, and

  attorneys, and all persons acting in concert and participation with the Defendants are hereby

  permanently restrained and enjoined from:

                 a.      advertising, promoting, performing, copying, broadcasting, and/or
                         distributing any of Plaintiffs’ content or copyrighted works, including but
                         not limited to those works identified in Paragraph 26 of the Complaint,
                         Schedule D thereto [ECF No. 1], and in Exhibit 3 thereto [ECF No. 1-4];
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             b.    advertising, promoting, offering, using, or causing to be advertised,
                   promoted, or offered, services using Plaintiffs’ registered or common law
                   trademarks identified in Paragraphs 14 and 18 of the Complaint and in
                   Schedules “B” and “C” attached thereto (the “ABS-CBN Marks”);

             c.    using the ABS-CBN Marks in connection with any unauthorized services
                   or performances of Plaintiffs’ copyrighted works;

             d.    using any logo and/or layout which may be calculated to falsely advertise
                   the services or products of the Defendants offered or promoted via the
                   Internet websites and supporting domain names operating under their
                   individual, partnership, and/or business association names identified on
                   Schedule “A” hereto (collectively the “Subject Domain Names”) and/or
                   any other Internet websites, domain names, corresponding website URLs
                   or businesses, as being sponsored by, authorized by, endorsed by, or in
                   any way associated with the Plaintiffs;

             e.    falsely representing themselves as being connected with the Plaintiffs,
                   through sponsorship or association;

             f.    engaging in any act which is likely to falsely cause members of the trade
                   and/or of the public to believe any content or services of Defendants
                   offered or promoted via the Subject Domain Names and/or any other
                   Internet websites, domain names, corresponding website URLs, or
                   businesses, are in any way endorsed by, approved by, and/or associated
                   with the Plaintiffs;

             g.    using any reproduction, counterfeit, copy, or colorable imitation of the
                   ABS-CBN Marks in connection with the publicity, promotion,
                   distribution, or advertising of any content or services by Defendants via
                   the Subject Domain Names and/or any other Internet websites, domain
                   names, corresponding website URLs, or businesses;

             h.    affixing, applying, annexing or using in connection with the promotion,
                   distribution, or advertisement of any content or services, a false
                   description or representation, including words or other symbols tending to
                   falsely describe or represent Defendants’ content or services offered by the
                   Defendants via the Subject Domain Names and/or any other Internet
                   websites, domain names, corresponding website URLs, or businesses, as
                   being those of the Plaintiffs or in any way endorsed by the Plaintiffs;

             i.    otherwise unfairly competing with the Plaintiffs;

             j.    using the ABS-CBN Marks, or any confusingly similar trademarks, within
                   domain name extensions, metatags or other markers within website source
                   code, from use on any webpage (including as the title of any web page),
                   from any advertising links to other websites, from search engines’
                   databases or cache memory, and from any other form of use of such terms


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                    which are visible to a computer user or serves to direct computer searches
                    to websites registered, owned, or operated by the Defendants, including
                    the Internet websites operating under all of the Subject Domain Names;
                    and

             k.     effecting assignments or transfers, forming new entities or associations or
                    utilizing any other device for the purpose of circumventing or otherwise
                    avoiding the prohibitions set forth above.

        2.   Additional Equitable Relief:

             a.     In order to give practical effect to the Permanent Injunction, the Subject
                    Domain Names are hereby ordered to be immediately transferred by
                    Defendants, their assignees and/or successors in interest or title, and the
                    Registrars to Plaintiffs’ control. To the extent the current Registrars do not
                    facilitate the transfer of the Subject Domain Names to Plaintiffs’ control
                    within five (5) days of receipt of this Judgment, the Registries shall, within
                    thirty (30) days, change the Registrar of Record for the Subject Domain
                    Names to a Registrar of Plaintiffs’ choosing, and that Registrar shall
                    transfer the Subject Domain Names to Plaintiffs;

             b.     Upon Plaintiffs’ request, the top level domain (TLD) Registry for each of
                    the Subject Domain Names, or their administrators, including backend
                    registry operators or administrators, within thirty (30) days of receipt of
                    this Order, shall place the Subject Domain Names on Registry Hold status
                    for the life of the current registration, thus removing them from the TLD
                    zone files maintained by the Registries which link the Subject Domain
                    Names to the IP addresses where the associated websites are hosted;

        3.   Statutory damages pursuant to 15 U.S.C. § 1117(c):

             a.     Award the Plaintiffs damages of $1,000,000.00 against each Defendant,
                    pursuant to 15 U.S.C. § 1117(c), for which let execution issue.

        4.   Statutory damages pursuant to 17 U.S.C. § 504(c):

             a.     $30,000.00 against Defendant fulltagalogmovies.com (Defendant Number
                    10) pursuant to 17 U.S.C. § 504(c), for which let execution issue;

        5.   All funds currently restrained by the advertising services, networks, and/or

             platforms identified in Schedule “B” hereto (the “Advertising Services”), and

             their related companies and affiliates, pursuant to the temporary restraining order

             and the preliminary injunction in this action are to be immediately (within 5




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              business days) transferred to Plaintiffs in partial satisfaction of the monetary

              judgment entered herein against each Defendant. The Advertising Services shall

              provide to Plaintiffs at the time the funds are released, a breakdown reflecting the

              (i) total funds restrained in this matter per Defendant; (ii) the total chargebacks,

              refunds, and/or transaction reversals deducted from each Defendant’s funds

              restrained prior to release; and (iii) total funds released per Defendant to the

              Plaintiffs.


        6.    Interest from the date this action was filed shall accrue at the legal rate. See 28

              U.S.C. § 1961.

        7.    The bond posted by the Plaintiffs in the amount of $10,000.00 [ECF No. 9] is

              hereby ordered released by the Clerk.

        8.    The Court retains jurisdiction to enforce this Judgment and Permanent Injunction.

        DONE AND ORDERED in Chambers at Miami, Florida, this 23rd day of October, 2018.




                                            ________________________________
                                            DARRIN P. GAYLES
                                            UNITED STATES DISTRICT JUDGE




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                            SCHEDULE “A”
            DEFENDANTS BY NUMBER AND SUBJECT DOMAIN NAME

                        Def. No.           Domain List
                               1   aceshowbiz.me
                               2   asontado.net
                               3   bagani.club
                               4   cinenatin.com
                               4   lumangdrama.com
                               5   cinesilip.ph
                               6   filikulamo.to
                               7   filipinoshow.com
                               8   filipinoshows.com
                               9   fullepisodepinoy.com
                              10   fulltagalogmovies.com
                              11   globalpinoychannel.net
                              12   govideos.me
                              13   ipinoyako.com
                              14   kkvideos.net
                              15   kshowshd.com
                              16   lambingan.net
                              17   mediatro.net
                              18   minihealthcare.com
                              19   newasiantv.co
                              20   ondramanice.io
                              21   pariwiki.ph
                              22   pinoyakohd.com
                              23   pinoybays.net
                              24   pinoychannelako.com
                              25   pinoychannelshd.com
                              26   pinoycinema.net
                              27   pinoyhub.net
                              28   pinoymovieshub.com
                              29   pinoyseryetv.net
                              30   pinoytime.com
                              31   pinoytvlovers.net
                              32   DISMISSED
                              33   pinoytvshows.site
                              34   pinoytvshowstambayan.com
                              35   putlocker5movies.com
                              36   tagalogshows.net
                              37   teleseryereplay.org


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                        Def. No.        Domain List
                              38 vidph.com
                              39 watchonlinepinoy.com
                              40 wowowin.org




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                           SCHEDULE “B”
  DEFENDANTS BY NUMBER, SUBJECT DOMAIN NAME, ADVERTISING ACCOUNT
           INFORMATION, AND ASSOCIATED E-MAIL ADDRESSES

                                      Advertising
    Def.         Subject Domain        Service/             Account                 Associated E-mail
    No.              Name              Platform            Identifier                   Address
                                      Google
                                      AdSense,       ca-pub-
           1 aceshowbiz.me            Google LLC     8135574694778908         N/A
                                      Google
             asontado.net             DoubleClick    div-gpt-ad-
           2 (framing merani.club)    Google LLC     1528659745441-0          N/A
           3 bagani.club              N/A            N/A                      N/A

                                      N/A,
                                      redirects to
                                      lumangdrama
           4 cinenatin.com            .com           N/A                      N/A
                                      Google
                                      AdSense,       ca-pub-
           4 lumangdrama.com          Google LLC     8516791451477759         N/A

             cinesilip.ph
             (hosted on               Google         175505488
             healthcarestructered.c   DoubleClick    healthcarestructered.c
           5 om)                      Google LLC     om                       N/A
                                      RevenueHits,                            pekuxikappa-
           6 filikulamo.to            Intango Ltd.   tid=10127_440770         5952@yopmail.com
                                      Google
                                      AdSense,       ca-pub-                  filipinoshow.com@domains
           7 filipinoshow.com         Google LLC     6207841317776045         byproxy.com
                                      Google
                                      AdSense,       ca-pub-
           8 filipinoshows.com        Google LLC     4114366130058641         N/A
                                      mgid.com,
                                      MGID Inc.                               balochcompany22@gmail.c
           9 fullepisodepinoy.com     MGID UA        fullepisodepinoy.com     om
                                      popads.net,
                                      Tomksoft                                4242029@whoisprotection.
       10 fulltagalogmovies.com       S.A.           1948282                  biz
                                                                              798a118765b74e33ac4398c
          globalpinoychannel.ne                                               a44f1a98c.protect@whoisg
       11 t                           N/A            N/A                      uard.com
       12 govideos.me                 N/A            N/A                      N/A



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                                    Advertising
    Def.      Subject Domain         Service/           Account              Associated E-mail
    No.           Name               Platform          Identifier                Address
                                    mgid.com,
                                    MGID Inc.
       13 ipinoyako.com             MGID UA       ipinoyako.com        N/A
       14 kkvideos.net              N/A           N/A                  N/A
          kshowshd.com              Google
          (framing                  DoubleClick   div-gpt-ad-
       15 imranhameed.cf)           Google LLC    1527783178988-0      N/A
       16 lambingan.net             N/A           N/A                  N/A
                                    Google
          mediatro.net              DoubleClick   div-gpt-ad-
       17 (framing irfansb2.ga)     Google LLC    1528659745441-0      N/A
          minihealthcare.com        Google
          (framing                  AdSense,      ca-pub-
       18 usatadterikhairnahi.tk)   Google LLC    4496966943567812     N/A
                                    mgid.com,
                                    MGID Inc.                          newasiantv.com@gmail.co
       19 newasiantv.co             MGID UA       newasiantv.co        m
                                    Revcontent
                                    Revcontent,
       20 ondramanice.io            LLC           rcjsload_a7e9cc      pinoytvpedia@gmail.com
                                    Revcontent
                                    Revcontent,
       21 pariwiki.ph               LLC           rcjsload_73fa87      N/A
       22 pinoyakohd.com            N/A           N/A                  N/A
       23 pinoybays.net             N/A           N/A                  N/A
                                    Google
                                    AdSense,      ca-pub-
       24 pinoychannelako.com       Google LLC    1701422038289164     kathleengil224@gmail.com
                                    Google
                                    AdSense,      ca-pub-
       25 pinoychannelshd.com       Google LLC    9830472593241131
                                    mgid.com,
                                    MGID Inc.
       26 pinoycinema.net           MGID UA       pinoycinema.net      waq88as@gmail.com
       27 pinoyhub.net              N/A           N/A                  qaisrani001@gmail.com
       28 pinoymovieshub.com        N/A           N/A                  N/A
          pinoyseryetv.net
          (framing                                175505488
       29 ntspreparation.com)                     ntspreparation.com   N/A



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                                 Advertising
    Def.      Subject Domain      Service/            Account               Associated E-mail
    No.           Name            Platform           Identifier                 Address
          pinoytime.com          Google
          (frames                DoubleClick    div-gpt-ad-
       30 pinoyhome1.ml)         Google LLC     1528013012400-0       N/A
                                 mgid.com,
                                 MGID Inc.
       31 pinoytvlovers.net      MGID UA        pinoytvlovers.net     qaisrani001@gmail.com
       33 pinoytvshows.site      N/A            N/A                   N/A
                                                                      55de4e05021242388c8a9e6
          pinoytvshowstambaya    liveadexchan                         17caaa392.protect@whoisg
       34 n.com                  ger.com        r=1846627             uard.com
       35 putlocker5movies.com   N/A            N/A                   N/A
       36 tagalogshows.net       N/A            N/A                   N/A

                                 AdsKeeper
                                 Hardware
                                 Solution
       37 teleseryereplay.org    Limited        teleseryereplay.org   pinoytvpedia@gmail.com
                                 mgid.com,
                                 MGID Inc.
       38 vidph.com              MGID UA        vidph.com             N/A
                                 mgid.com,                            2cd66ab5897a415ab7e1abb
                                 MGID Inc.      watchonlinepinoy.co   046a75ee6.protect@whoisg
       39 watchonlinepinoy.com   MGID UA        m                     uard.com
                                 Google
                                 AdSense,       ca-pub-
       40 wowowin.org            Google LLC     6079545675037756      N/A




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